                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
         v.                                         *
                                                    *              Criminal No. TDC-20-33
BRIAN MARK LEMLEY, JR.,                             *
PATRIK JORDAN MATHEWS, and                          *
WILLIAM GARFIELD BILBROUGH                          *
IV                                                  *
                                                    *
*    *        *    *     *    *     *     *     *       *     *    *     *    *       *   *     *   *

                          MOTION TO FILE EXHIBITS UNDER SEAL

         Ned Smock, Assistant Federal Public Defender, counsel for defendant Brian Mark Lemley,

Jr., respectfully moves for the order of this Court placing under the Court’s seal Exhibits A -K to

be filed by the Defendant in this case. In support of this Motion, the Defendant states as follows:

         1.       Today counsel is filing with the Court a Motion to Suppress Evidence Sized
                  Pursuant to Search Warrants.

         2.       The exhibits consist of search warrant affidavits.

         3.       No reasonable alternatives to sealing the exhibits are available.

         WHEREFORE, Defendant respectfully requests that Exhibits A-K be placed under the

Court’s seal.

                                                            Respectfully submitted,


                                                                          /s/
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